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                                                                                                     E-FILED
                                                                           Monday, 18 July, 2022 03:20:50 PM
                                                                               Clerk, U.S. District Court, ILCD

                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

LEONARD SHARP,                                         )
                                                       )
                  Plaintiff,                           ) Case No. 21-CV-2212
                                                       )
         vs.                                           )
                                                       ) Judge Colin Stirling Bruce
CHIEF DOWNEY, et al.,                                  )
                                                       )
                  Defendants.                          )

               DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

         NOW COMES Defendant, MICHAEL DOWNEY, by his attorneys, MICHAEL W.

CONDON and ANDREA M. NIKOLAI of HERVAS, CONDON & BERSANI, P.C., and,

pursuant to Federal Rule of Civil Procedure 41(b), move this Court to dismiss Plaintiff’s

Complaint with prejudice for his failure to comply with the Court’s Order and Federal Rules of

Civil Procedure regarding discovery deadlines.

         1.       Plaintiff Leonard Sharp filed a Complaint alleging that he was in an altercation

with fellow detainees at the Kankakee County Jail and correctional staff failed to protect him (de

# 10).

         2.       On June 24, 2022, Defendant filed a motion to compel Plaintiff to provide

Defendant with (1) his initial Rule 26 Disclosures and (2) to respond to Defendant’s

interrogatories and request for production of documents (de #19). Defendant also asked the Court

to dismiss the Doe Defendants because Plaintiff did not file a motion to substitute the real names

of the Doe Defendants by the court-ordered deadline of April 25, 2022, which warranted

dismissal of the Doe defendants (de # 17, ¶ 9; de # 19).
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         3.    The Court granted the motion to compel on June 27, 2022, ordering Plaintiff to

comply with the outstanding issues by July 11, 2022.

         4.    Plaintiff has not complied with any part of the Court’s order as of this filing nor

has Plaintiff reached out to Defendant or filed anything with the Court.

         5.    Federal Rule of Civil Procedure 41(b) allows for dismissal of the action if the

plaintiff fails to comply with a court order or the Federal Rules of Procedure. Fed. R. Civ. P.

41(b).

         6.    Defendant moves that this Court dismiss Plaintiff’s Complaint for his failure to

comply with this Court’s order and the Federal Rules of Civil Procedure as to deadlines to

complete discovery and to disclose Doe Defendants.

         7.    Defendant prays that this Court dismiss this case and enter judgment in favor of

Defendant.

         WHEREFORE, Defendant, MICHAEL DOWNEY, respectfully requests that this Court

dismiss this case, enter judgment in his favor, and for such further relief this Court deems just.


                                              Respectfully submitted,

                                              s/ Michael W. Condon
                                              MICHAEL W. CONDON, ARDC No. 06192071
                                              ANDREA M. NIKOLAI, ARDC No. 06318008
                                              Attorneys for Defendants
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                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



             LEONARD SHARP,                     )
                   Plaintiff                    )
                      v.                        )     Case No. 21-cv-2212
            MICHAEL DOWNEY,                     )
                  Defendant                     )


                                  CERTIFICATE OF SERVICE

                   7/18/2022
I certify that on _______________, I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

 Leonard Sharp, 159 S. Clinton Ave., Bradley, IL 60915
_____________________________________________________________________________.




                                                           s/Michael W. Condon
                                                            Attorney’s signature

                                                 Michael W. Condon, ARDC No. 06192071
                                                       Printed name and bar number
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